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                                  UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF OHIO
                                        WESTERN DIVISION


Keith Herman,                                                   Case No. 3:22-cv-1476
individually and on
behalf others similarly situated,

                            Plaintiffs,

         v.                                                     ORDER


MetalTek International, Inc.,

                            Defendant.



         Plaintiff Keith Herman and Defendant MetalTek International, Inc., pursuant to the Fair

Labor Standards Act, 29 U.S.C. § 216(b), and Rule 23(e) of the Federal Rules of Civil Procedure,

have jointly moved for an order: (a) preliminarily approving the FLSA settlement and class action

settlement, as described in the Class Action Settlement Agreement and Release found at Exhibit 1

(“Settlement Agreement”); (b) conditionally certifying a settlement class regarding claims under the

Ohio Minimum Fair Wage Standards Act and the Ohio Prompt Pay Act pursuant to Fed. R. Civ. P.

23 for purposes of proceeding in connection with the final approval of the settlement agreement; (c)

appointing Plaintiff’s counsel as Class Counsel; (d) appointing Plaintiff as the Class Representative;

(e) appointing Analytics Consulting, LLC as the Claims Administrator; (f) preliminarily approving

the service payment to Plaintiff; (g) preliminarily approving Class Counsel’s request for attorneys’ fee

and litigation expenses; (h) approving the form, content, and manner of notice to the proposed

settlement class; and (i) scheduling a final approval hearing. (Doc. Nos. 10 & 10-1).
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        After reviewing the Settlement Agreement, the parties’ joint motion for approval, the

declaration of Plaintiff’s counsel, and the other filings in this matter, I grant the motion and order as

follows:

           1.   All initial-capped terms contained herein, unless otherwise defined, shall have the

same definitions as set forth in the Settlement Agreement, which is attached as Exhibit 1 to the

parties’ joint motion. (See Doc. No. 10-1). The Settlement Agreement sets forth the terms and

conditions for the proposed settlement. The Settlement Agreement is subject to approval by the

Court pursuant to the FLSA and Rule 23(e).

           2.   On August 17, 2022, Plaintiff filed this action alleging Defendant violated the FLSA

and similar Ohio statutes by failing to pay Plaintiff and other similarly situated employees all their

unpaid wages and overtime pay.

           3.   This Court appoints Plaintiff Keith Herman as Class Representative to represent the

Settlement Class for settlement purposes only. The proposed Settlement Class includes Class

Representative and fifty-six (56) employees.

           4.   This Court appoints Bryant Legal, LLC and Coffman Legal, LLC as Class Counsel

for the Settlement Class for settlement purposes only.

           5.   This Court appoints Analytics Consulting, LLC as Claims Administrator and

preliminarily approves the allocated costs for administration of the settlement as described in the

Settlement Agreement.

           6.   The parties exchanged and analyzed initial factual disclosures, and timekeeping and

payroll records. Based upon these records the parties each prepared a damages model. These

models, along with other research and investigation, enabled the parties to understand and assess the

detail and substance of their respective claims and defenses.




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         7.     This Court finds the Settlement Agreement is the result of good faith, arms-length

negotiations conducted after counsel for both sides were able to reasonably evaluate their respective

positions. The Court finds on a preliminary basis that the Settlement is within the range of

reasonableness, is commensurate with the claims made, and could ultimately be given final approval

by this Court. I find there is sufficient basis to conclude preliminarily that the proposed settlement

is fair, reasonable, and adequate.

         8.     In making this finding, I considered the nature of the claims, the relative strength of

the parties’ positions, the expense, complexity, and length of time this type of litigation typically

requires, the documents exchanged and analysis performed by both sides, and the allocation of the

settlement proceeds.

         9.     For settlement purposes only and for no other purpose and with no other effect on

this litigation, this Court certifies that the Settlement Class meet the requirements for class

certification under Fed. R. Civ. P. 23(a) and (b)(3). The Class is defined as: “All

manufacturing/production employees (1) who were employed by Defendant in its Sandusky, Ohio

facility during the time period of August 17, 2020 through May 8, 2023; (2) worked forty or more

hours in one or more workweeks during the Calculation Period; and (3) whose payroll and time

clock data was included in the Settlement.” The definition of the Settlement Class encompasses

persons with like factual circumstances and like claims to that of Plaintiff Herman.

         10.    This Court preliminarily approves the service award for Plaintiff Herman in

recognition of her services in this litigation.

         11.    This Court provisionally approves the payment of attorneys’ fees and litigation

expenses to Class Counsel as provided in the Settlement Agreement.

         12.    This Court approves the form, substance, and manner of distribution of the notices

of class action, (Doc. No. 10-1 at Exs. A & B), and orders that it be distributed to the Settlement


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Class in the manner described in the Settlement Agreement. The Settlement Class shall be notified

of the pendency of this matter, the proposed settlement, and the date of the hearing at which final

approval of the proposed settlement may be considered.

        13.    This Court approves the following procedure and timeline:

                a. Within 14 calendar days of entry of this Order, Defendant shall provide an

                     Excel spreadsheet with the names and last known addresses for the Settlement

                     Class to the Claims Administrator;

                b. Within 14 days of receipt of the information at subsection (a), the Claims

                     Administrator shall distribute the approved notice via First Class U.S. Mail;

                c. If the notice is returned as undeliverable, the Claims Administrator shall attempt

                     to locate a new address for the individual through other reasonable means. If a

                     new address is located the Claims Administrator will re-send the notice by First

                     Class U.S. Mail. If no new address can be located within five (5) calendar days

                     of receiving the notice of undeliverable mail, the Claims Administrator will

                     advise both Class and Defense Counsel.

                d. The notice will inform the Class of their right to request exclusion from the

                     Settlement or to submit written objections to the Settlement, and the procedure

                     for doing so in either instance;

                e. Plaintiffs shall have 60 days after the date of mailing of the notice to submit a

                     request for exclusion or objections to the Settlement;

                f.   Class counsel shall file a Joint Motion for Final Approval of the Settlement,

                     along with a proposed Final Order and Judgment Entry, no later than 10 days

                     prior to the Final Approval Hearing, accompanied by a Declaration from




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                     Analytics Consulting, LLC verifying that the notice was properly and timely

                     distributed to the Settlement Class;

                 g. On October 19, 2023, at 10:00 a.m., a Final Approval Hearing will be held at the

                     James M. Ashley and Thomas W.L. Ashley U.S. Courthouse, 1716 Spielbusch

                     Avenue, Toledo, Ohio, 43604. The Court reserves the right to adjust the date of

                     the Final Approval Hearing and related deadlines without further notice to the

                     Settlement Class.

        14.     All proceedings and all litigation of the matter, other than those pertaining to the

administration of the Settlement, are stayed pending the Final Approval Hearing.

        15.     The preliminary approval of the Settlement and the certification of the Settlement

Class are conditional and shall be vacated if the Settlement Agreement is terminated or disapproved

in whole or in part by the Court, or any appellate court, or any other court of review, in which event

the Settlement Agreement shall not be offered, received, or construed as an admission or as

evidence for any purpose.

        16.     In the event the Settlement is not finally approved, or otherwise does not become

effective in accordance with the terms of the Settlement Agreement, this Order shall be null and

void, and shall be vacated with the parties to revert back to their respective positions before entering

into the Settlement Agreement. The Court’s findings are for purposes of certifying a settlement

class and to settle the matter. Thus, they shall not have any claim or issue preclusion or estoppel

effect in any other action against Defendants, or in this action, if the Settlement is not finally

approved.




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        Accordingly, I grant the Joint Motion for Preliminary Approval of Class Action Settlement.

(Doc. No. 10).


       So Ordered.


                                                     s/ Jeffrey J. Helmick
                                                     United States District Judge




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